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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


CONSUMER FINANCIAL PROTECTION                     :
BUREAU,                                           :            C.A. No. 17-1323 (MN)
                                                  :
                          Plaintiff,              :
                                                  :
v.                                                :
                                                  :
THE NATIONAL COLLEGIATE MASTER                    :
STUDENT LOAN TRUST et al.,                        :
                                                  :
                          Defendants.             :


      AMBAC ASSURANCE CORPORATION’S OPPOSITION TO PLAINTIFF’S
     APPLICATION FOR ENTRY OF DEFAULT AGAINST DEFENDANT TRUSTS

       Intervenor Ambac Assurance Corp. respectfully submits this opposition to Plaintiff

Consumer Financial Protection Bureau’s Application for Entry of Default against the Defendant

Trusts, filed July 2, 2020. [Dkt. 295] The CFPB’s request for entry of default against the Trusts

contravenes the explicit directive and order of this Court—and CFPB’s representations to secure

that order, which it now disregards. The Application should be rejected out of hand.

       The CFPB seeks entry of default because the Trusts are unrepresented and therefore have

not yet responded to the CFPB’s complaint. Yet at the court conference just two weeks ago,

counsel for Ambac raised this precise concern with the Court—and this Court specifically stated

that issues relating to the lack of Trust representation, including the Trusts’ response to the

complaint, would be deferred while the Intervenors’ imminent Rule 12(b) motions are briefed:

       Counsel for Ambac:

       There is also a wrinkle in that, you know, the Trust remain . . . unrepresented in the []action
       and obviously we don’t think that stops the covered persons motion from going forward in
       light of the requirement that the Court consider subject matter jurisdiction at any time, but
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        we just think that’s a further reason to prioritize the question of subject matter jurisdiction.
        ...
        The Court:

        . . . So I’ll hear from anyone else on that issue, but what I’m thinking is if I say brief the
        issues that you want to brief now, obviously if something else comes up during the case
        related to subject matter jurisdiction, you can raise it, but I would prefer that you brief
        everything that you’re aware of now, and we’ll deal with what the Defendants want to do
        when they get counsel.

Ex. A at 6:15–8:3 (emphasis added). In direct response to that instruction, counsel for the CFPB

specifically represented he agreed with the Court’s preferred order of operations.

        Counsel for CFPB:

        I wanted to say just briefly that as you already noted, we agree with the proposal that at
        least you have outlined so far. We think that for efficiency sake the arguments that can be
        made should be made now.

Id. at 9:2–6.

        Further, during the post-conference negotiations of the stipulation requested by the Court,

the CFPB repeatedly represented to Intervenors that answers should be deferred until after the

ruling on the contemplated motions to dismiss. The CFPB explained: “We expect the court to set

any appropriate deadlines that follow ruling on the MTD,” Ex. B (emphasis added), and “it is

unnecessary to include language articulating the basic power of the Court to establish appropriate

deadlines,” Ex. C. As the CFPB recognized, the Court’s ruling that the filing of the Trusts’ answer

should follow the motion to dismiss was well within its inherent authority. Katz v. Feldman, No.

18-213 (MN), 2019 WL 266945, 2019 U.S. Dist. LEXIS at *3–4 (D. Del. Jan. 18, 2019) (“Every

Court has the inherent authority to manage the cases on its docket with economy of time and effort

for itself, for counsel, and for litigants. How this can best be done calls for the exercise of judgment,

which must weigh competing interests and maintain an even balance.” (citation omitted)).

        This record evinces a level of gamesmanship that should not be countenanced. The CFPB

served the Complaint on June 11, 2020, then represented to the Court the next day that it agreed

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with deferring any response from the Trusts, then represented to the Intervenors that it believed

deadlines for responding to the complaint should set only after motions to dismiss are resolved,

and then filed this Application seeking a default of its own making. Either the CFPB deliberately

and repeatedly misrepresented its position, or it has simply reversed course notwithstanding its

prior representations. Either way, as with the unauthorized Proposed Consent Judgment, the CFPB

is wrongly seeking to take advantage of Trusts’ unrepresented status to secure a result that will not

survive an adjudication on the merits.

       Indeed, the CFPB’s effort to obtain a default against the Trusts for failing to appear is yet

its latest improper attempt to mischaracterize the Trusts as autonomous bodies that act of their own

accord—a fallacy that pervades its entire theory of the Trusts’ liability in this action. As the CFPB

admits in its complaint, the Trusts are paper entities “who do not have employees, and all actions

relating to the administration of the Trusts . . . are carried out by” other parties. Compl. ¶ 12.

Moreover, the CFPB well knows, and as the Court is aware, the Trusts have been unable to retain

counsel, and the mechanism for how they may do so will be resolved by an impending decision

on fully briefed Rule 12(c) motions in the Delaware Court of Chancery. In the interim, the

Intervenors—the Trusts’ constituents and beneficiaries—will continue to litigate this matter and

capably defend the Trusts’ interests as they have for three years, even without nominal

representation of the Trusts. Given the continued progression of this action irrespective of Trust

participation, there is no conceivable justification for entry of default here. See Byrd v. Keene

Corp., 104 F.R.D. 10, 11 (E.D. Pa. 1984 (“Default judgments serve as deterrents to delay in judicial

proceedings” (citing 10 Wright, Miller & Kane, Federal Practice and Procedure § 2681 (agreeing

that default judgment “must normally be viewed as available only when the adversary process has




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been halted . . . the diligent party must be protected lest he be faced with interminable delay and

continued uncertainty as to his rights”)).

       In the end, the CFPB’s tactic appears to be little more than a ruse to distract from the fact

that Supreme Court has just called into question the constitutionality of all of the CFPB’s pending

enforcement matters, including this action. See Seila Law LLC v. CFPB, No. 19-7, 2020 WL

3492641 (U.S. June 29, 2020). But the CFPB may not avoid confronting that constitutional

question—which will be raised in the imminent motions to dismiss—with its procedural ploy.

       Accordingly, in view of the Court’s sound reasoning for staging the procedural phases of

this case—and the CFPB’s explicit endorsement of that reasoning—the Court should exercise its

discretion to reject the Application. See generally Mandija v. Capano Homes, Inc., No. 18-393,

2018 U.S. Dist. LEXIS 124074, at *2 (D. Del. July 24, 2018) (“Entry of default is within the

discretion of the trial court.”) (citing Aron v. Quest Diagnostics, Inc., 174 F. App’x 82, 84 (3d Cir.

2006)); see also Draeger Med. Sys., Inc. v. My Health, Inc., No. 15-248, 2015 WL 4039940, 2015

U.S. Dist. LEXIS 85504, at *4–5 (D. Del. 2015) (“In general, the entry of default and default

judgment is disfavored because they prevent a plaintiff’s claims from being decided on the merits.”

(citing, inter alia, Medunic v. Lederer, 533 F.2d 891, 893–94 (3d Cir. 1976) and United States v.

$55,518.05 in U.S. Currency, 728 F.2d 192, 195 (3d Cir. 1984) (noting that the Third Circuit “does

not favor entry of defaults” and “requir[ing] doubtful cases” to be resolved “on their merits”)).




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